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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

  1. R4 INVESTMENTS, LLC, an Oklahoma Limited        )
     Liability Company,                              )
  2. EDGEMERE HOMES, LLP, an Oklahoma Limited        )
     Liability Partnership,                          )
                                                     )
            Plaintiffs,                              )
                                                     )
v.                                                   ) Case No.     CIV-19-922-D
                                                     )
   1. REAL PROTECT, LLC, a Georgia Limited Liability )
      Company,                                       )
   2. NORTON AGENCY INSURANCE, LLC, a Georgia )
      Limited Liability Company, a/k/a Norton Agency )
      Insurance, LLC d/b/a Norton Network Insurance  )
      Agency,                                        )
   3. WANDA GAIL SIMMONS, as an Agent for Norton )
      Agency Insurance, LLC and/or Real Protect, LLC )
      and/or in her individual capacity,             )
                                                     )
            Defendants.                              )

                                 COMPLAINT

                                     Parties

 1. Plaintiff, R4 Investments, LLC, is an Oklahoma limited liability company. R4

    Investments, LLC’s place of business is within the State of Oklahoma and its

    members are each citizens of the State of Oklahoma.

 2. Plaintiff, Edgemere Homes, LLP, is an Oklahoma limited liability partnership.

    Edgemere Homes, LLP’s place of business is within the State of Oklahoma

    and its partners are each citizens of the State of Oklahoma.
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3. Defendant, Real Protect, LLC, is a Georgia limited liability company.

4. Defendant, Norton Agency Insurance, LLC, is a is a Georgia limited liability

company.

5. Upon information and belief, Defendant, Wanda Gail Simmons, is a

citizen of the State of Georgia.

                                   Jurisdiction

 6. The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

because there is diversity between the parties and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

                                      Facts

 7. At all times material hereto, Plaintiffs, R4 Investments, LLC and Edgemere

Homes, LLP, owned residential properties located at the following addresses in

Oklahoma County:       2138/2140 NW 12th Street, Oklahoma City, Oklahoma;

2142 NW 12th Street, Oklahoma City, Oklahoma and 1212/1214 N. Barnes,

Oklahoma City, Oklahoma.

  8.   On or about June 7, 2018, Plaintiffs’ properties were damaged as a

result of wind/hail.

  9. At all times material hereto, Defendants, Real Protect, LLC and Norton

 Agency Insurance, LLC, were Plaintiffs’ insurance agents. Defendants told
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Plaintiffs that they had procured insurance coverage for Plaintiff’s properties

located at 2138/2140 NW 12th Street, Oklahoma City, Oklahoma; 2142 NW 12th

Street, Oklahoma City, Oklahoma and 1212/1214 N. Barnes, Oklahoma City,

Oklahoma.

 10. At all times material hereto, Defendant, Wanda Gail Simmons, was an

insurance agent with Defendant, Norton Agency Insurance, LLC and/or Real

Protect, LLC. Alternatively, at all times material hereto, Defendant, Wanda Gail

Simmons, acted in her individual capacity.

                     Count I: Negligence – All Defendants

 11. Plaintiffs, R4 Investments, LLC and Edgemere Homes, LLP hereby assert,

 allege and incorporates paragraphs 1-10 herein.

 12. At all times material hereto, Defendants, Real Protect, LLC and Norton

 Agency Insurance, LLC, were not licensed to operate as an insurance brokerage,

 and to procure and sell insurance policies in the State of Oklahoma.

 13.    At all times material hereto, Defendant, Wanda Gail Simmons, was not

 licensed to act as an insurance agent/broker, and to procure and sell insurance

 policies in the State of Oklahoma.

 14. Defendants, Real Protect, LLC, Norton Agency Insurance, LLC, and

 Wanda Gail Simmons, were Plaintiffs’ insurance agents. Defendants told
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Plaintiffs that they had procured insurance coverage for Plaintiff’s properties

located at 2138/2140 NW 12th Street, Oklahoma City, Oklahoma; 2142 NW 12th

Street, Oklahoma City, Oklahoma and 1212/1214 N. Barnes, Oklahoma City,

Oklahoma.

15. Defendants, Real Protect, LLC, Norton Agency Insurance, LLC, and Wanda

Gail Simmons, had a duty to procure coverage for Plaintiffs’ properties. Indeed,

Defendants averred to Plaintiffs that all of the properties herein described were

covered under a policy through Defendant, Real Protect, LLC.

16. Defendants, Real Protect, LLC, Norton Agency Insurance, LLC, and Wanda

Gail Simmons, negligently failed to procure the policy or coverage

insuring Plaintiffs’ properties, thereby breaching the standard of care required of

professional insurance agents and/or brokerages.

17. As a result of Defendants’ breach of its duty of care, Plaintiffs have been

injured and deprived of the benefits of the coverage that Defendants failed to

procure.

               Count II: Fraud - Defendants Real Protect, LLC
                    and Norton Agency Insurance, LLC

18. Plaintiffs, R4 Investments, LLC and Edgemere Homes, LLP hereby assert,

allege and incorporates paragraphs 1-17 herein.

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 19. Upon information and belief, Defendants Real Protect, LLC and Norton

 Agency Insurance, LLC are closely connected entities, sharing a network of

 employees, as well as a common operational and managerial structure.

 20. Defendants Real Protect, LLC and Norton Agency Insurance, LLC are

 actively engaged in a fraudulent scheme whereby Defendant, Real Protect, LLC,

 fraudulently holds itself out as a property insurer providing insurance coverage

 to real estate investors through the Norton Agency for a set premium. In reality,

 Defendant, Real Protect, LLC is not an insurance carrier, but is instead a

 company wholly owned/operated by Defendant, Norton Agency Insurance,

 LLC. Defendant Norton Agency Insurance, LLC holds itself out to insureds and

 potential insureds as an insurance brokerage procuring coverage provided by

 Defendant Real Protect, LLC – which the Norton Agency also holds out as an

 insurance carrier. In reality, Defendant Norton Agency Insurance, LLC then

 purchases an insurance policy through various insurers covering the property

 owner’s property but naming Defendant, Real Protect, LLC as the named

 insured under said policy. Defendants then charge the insured an inflated

“premium” for this coverage – even though the property owner is not actually an

 insured under the policy procured by Defendants Real Protect, LLC and Norton

 Agency Insurance, LLC. Defendants Real Protect, LLC and Norton Agency
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Insurance, LLC are not insurance carriers licensed to provide insurance coverage

in the State of Oklahoma and do not have an insurable interest in the properties

for which they are obtaining insurance coverage from other insurance carriers in

furtherance of their fraudulent scheme.

21. Plaintiffs, R4 Investments, LLC and Edgemere Homes, LLP, procured an

insurance policy through Defendants Real Protect, LLC and Norton Agency

Insurance, LLC purporting to insure Plaintiffs against losses sustained to their

properties described herein. Defendants Real Protect, LLC and Norton Agency

Insurance, LLC held themselves out to Plaintiffs as an insurance carrier and

agency, respectively. In reality, Plaintiffs were not even named insureds under

the policy procured by Defendants Real Protect, LLC and Norton Agency

Insurance, LLC. Defendants Real Protect, LLC and Norton Agency Insurance,

LLC, fraudulently averred to Plaintiffs that they were insured under this policy

and that they were being charged a “premium” by Defendants Real Protect,

LLC, and Norton Agency Insurance, LLC. Not only did Defendant fail to

procure coverage on certain properties owned by Plaintiffs, as described above,

but Defendant also charged Plaintiff an inflated price for this coverage by

fraudulently holding itself out as an insurer and its costs as “premiums.”



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                 Punitive Damages - Defendants Real Protect, LLC
                        and Norton Agency Insurance, LLC

  22.    Plaintiffs, R4 Investments, LLC and Edgemere Homes, LLP, hereby

 assert, allege and incorporate paragraphs 1-21 herein.

  23.    The conduct of the Defendants, Real Protect, LLC and Norton Agency

Insurance, LLC was fraudulent, unreasonable, intentional, willful, wanton and was

committed with a reckless disregard for the rights of the Plaintiffs for which

punitive damages are hereby sought.

                              Demand for Jury Trial

  24.    Plaintiffs, R4 Investments, LLC and Edgemere Homes, LLP, hereby

request that the matters set forth herein be determined by a jury.

                                       Prayer

  25.   Having properly pled, Plaintiffs, R4 Investments, LLC and Edgemere

Homes, LLP, hereby seek actual and punitive damages against the Defendants,

Real Protect, LLC, Norton Agency Insurance, LLC, and Wanda Gail Simmons,

together in an amount in excess of $75,000.00; including costs, interest and

attorney fees.




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                          Respectfully submitted,

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